         Case 1:14-cv-12298-DJC Document 262 Filed 04/20/18 Page 1 of 3



                       IN THE UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

 KONINKLIJKE PHILIPS N.V. and PHILIPS )
 LIGHTING NORTH AMERICA CORPORATION, )
                                      )
                 Plaintiffs,          )
                                      )                        CIVIL ACTION NO. 14-cv-12298
           v.                         )
                                      )
 WANGS ALLIANCE CORPORATION d/b/a WAC )
 LIGHTING CO.,                        )
                                      )
                 Defendant.           )
                                      )


               JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE

       Pursuant to the parties’ April 13, 2018 settlement agreement and Fed. R. Civ. P.

41(a)(1)(A)(ii), the parties stipulate and agree to dismiss this action with prejudice, with each

party to bear its own costs, attorney fees, and expenses.
        Case 1:14-cv-12298-DJC Document 262 Filed 04/20/18 Page 2 of 3



Dated: April 20, 2018                              Respectfully submitted,

By: /s/ David C. Radulescu                         /s/ C. Brandon Rash
    David C. Radulescu, Ph.D. (pro hac vice)       C. Brandon Rash (pro hac vice)
    Tigran Vardanian (pro hac vice)                brandon.rash@finnegan.com
    Etai Lahav (pro hac vice)                      John M. Williamson (pro hac vice)
    Michael D. Sadowitz (pro hac vice)             john.williamson@finnegan.com
    RADULESCU LLP                                  Kenie Ho (pro hac vice)
    The Empire State Building                      kenie.ho@finnegan.com
    350 Fifth Avenue, Suite 6910                   Aidan C. Skoyles (pro hac vice)
    New York, NY 10118                             aidan.skoyles@finnegan.com
    Telephone: (646) 502-5950                      Forrest A. Jones (pro hac vice)
    Facsimile: (646) 502-5959                      forrest.jones@finnegan.com
    david@radip.com                                J. Preston Long (pro hac vice)
    tigran@ radip.com                              j.preston.long@finnegan.com
    etai@ radip.com                                Kelly C. Lu (pro hac vice)
    mike@ radip.com                                kelly.lu@finnegan.com
                                                   Umber Aggarwal
     Attorneys for Defendant WAC Lighting          umber.aggarwal@finnegan.com (pro hac vice)
     Co.                                           Amy L. Fulton (pro hac vice)
                                                   amy.fulton@finnegan.com

                                                   FINNEGAN, HENDERSON, FARABOW,
                                                    GARRETT & DUNNER, LLP
                                                   901 New York Avenue, NW
                                                   Washington, DC 20001
                                                   Telephone: (202) 408-4000
                                                   Facsimile: (202) 408-4400

                                                   Christopher S. Schultz (BBO No. 630814)
                                                   FINNEGAN, HENDERSON, FARABOW,
                                                    GARRETT & DUNNER, L.L.P.
                                                   Two Seaport Lane
                                                   Boston, MA 02210
                                                   christopher.schultz@finnegan.com
                                                   Telephone: (617) 646-1600
                                                   Facsimile: (617) 646-1666

                                                   Attorneys for Plaintiffs Koninklijke Philips N.V.
                                                   and Philips Lighting North America Corporation




                                               2
        Case 1:14-cv-12298-DJC Document 262 Filed 04/20/18 Page 3 of 3



                                CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the CM/ECF system will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)

and paper copies will be sent to those indicated as nonregistered participants on April 20, 2018



                                               /s/ C. Brandon Rash
                                               C. Brandon Rash (pro hac vice)
                                               FINNEGAN, HENDERSON, FARABOW,
                                                  GARRETT & DUNNER, LLP
                                               901 New York Avenue, NW
                                               Washington, DC 20001
                                               Telephone: (202) 408-4000
                                               Facsimile: (202) 408-4400

                                               Attorney for Plaintiffs
                                               Koninklijke Philips N.V. and
                                               Philips Lighting North America Corporation
